     Case: 1:20-cv-03366 Document #: 45 Filed: 11/19/21 Page 1 of 4 PageID #:661




                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
LISA CALVENTE,                    )
                                  )
               Plaintiff,         )
                                  )    Case No.: 1:20-cv-03366
      v.                          )
                                  )    Judge John Robert Blakey
SALMA GHANEM and DEPAUL           )
UNIVERSITY,                       )
                                  )
               Defendants.        )

             DEFENDANTS’ COMBINED MOTION FOR SUMMARY JUDGMENT

        Defendants, Salma Ghanem (“Dr. Ghanem”) and DePaul University (“DePaul” or

“University”), by their attorneys, Cozen O’Connor, hereby moves for summary judgment on all

claims raised by Plaintiff Lisa Calvente (“Plaintiff”) pursuant to Rule 56 of the Federal Rules of

Civil Procedure and Local Rule 56.1. In support of their motion, the Defendants submit their

Statement of Undisputed Material Facts and Memorandum of Law and respectfully state as

follows:

        1.         Plaintiff is a former tenure-track Assistant Professor in DePaul’s College of

Communication (“College”), who filed this lawsuit challenging her denial of tenure and

termination of employment. Plaintiff alleges claims of employment discrimination and retaliation

under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, et seq. (“Title VII”) against

DePaul; and 42 U.S.C. §1981 (“Section 1981”) against DePaul and Dr. Ghanem; and a claim of

breach of contract against DePaul.

        2.         According to her own testimony, Plaintiff has no evidence that would permit a

reasonable factfinder to conclude that Plaintiff was denied tenure because of her race or in




LEGAL\55212113\1
     Case: 1:20-cv-03366 Document #: 45 Filed: 11/19/21 Page 2 of 4 PageID #:662




retaliation for her complaints of discrimination, and has no evidence that would DePaul breached

any contract to her.

        3.         The undisputed material facts demonstrate that Plaintiff cannot present a prima

facie case of discrimination under Title VII or Section 1981 because she cannot demonstrate that

she was qualified for tenure or that similarly situated faculty members outside of her protected

class were treated more favorably. Even assuming Plaintiff could present a prima facie case of

discrimination, Defendants have articulated legitimate non-discriminatory reasons for denying

Plaintiff’s tenure application, including deficiencies identified by her peers in the areas of

teaching, research, and service, and Plaintiff’s outright refusal to adopt recommendations on how

to improve. The record is replete with evidence demonstrating that at every step of the multi-

level tenure review – during which Plaintiff availed herself of all the procedural protections built

into the process – faculty peers engaged in a careful evaluation of Plaintiff’s application for

tenure and promotion, and determined that although Plaintiff possessed many strengths and

achievements, her “very good” record fell short of the “excellent” qualifications required for

tenure. Plaintiff cannot present evidence that the Defendants’ legitimate reasons are a pretext for

discrimination, and therefore, her discrimination claims fail as a matter of law.

        4.         The undisputed material facts also show that Plaintiff cannot demonstrated a case

for retaliation under Title VII or 42 U.S.C. §1981 because there is no evidence Plaintiff’s

complaints of discrimination were the “but for” cause of her tenure denial. Rather, Plaintiff’s

tenure evaluation was subjected to multiple levels of careful review by 30 different faculty

members, including Dr. Ghanem, who articulated numerous non-retaliatory reasons in support of

the tenure decision, and who, in the same tenure cycle as Plaintiff, also granted tenure to another

faculty member who complained of discrimination.



                                               2
LEGAL\55212113\1
     Case: 1:20-cv-03366 Document #: 45 Filed: 11/19/21 Page 3 of 4 PageID #:663




        5.         Finally, the undisputed material facts demonstrate that Plaintiff cannot

demonstrate that DePaul breached its Faculty Handbook when it denied her tenure. It is

undisputed that tenure is not guaranteed at DePaul, and is only granted when, in the academic

judgment of peer faculty, there is “no reasonable doubt about the faculty member’s demonstrated

qualifications and continued capacity to contribute to DePaul’s distinctive goals and academic

mission.”

        6.         The bases for the Defendants’ motion are set forth more fully in the

accompanying Statement of Undisputed Facts and the accompanying Memorandum of Law in

Support of Defendants’ Combined Motion for Summary Judgment which is incorporated here by

reference.

        WHEREFORE, Defendants respectfully request that this Court enter an Order granting

summary judgment in its favor and against Plaintiff, and that Defendants be awarded such other

and further relief as the Court deems just and proper.


Dated: November 19, 2021

                                             Respectfully submitted,

                                             By: /s/ Anneliese Wermuth
                                                     Attorney for Defendants, Salma Ghanem
                                                     andDePaul University
Anneliese Wermuth (#6270970)
Nandini K. Sane
Cozen O’Connor
123 N. Wacker Drive, Ste. 1800
Chicago, IL 60606
Telephone:    312/474-7876
Email: awermuth@cozen.com
Email: nsane@cozen.com

Attorney for Defendants



                                             3
LEGAL\55212113\1
 Case: 1:20-cv-03366 Document #: 45 Filed: 11/19/21 Page 4 of 4 PageID #:664




                             CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on November 19, 2021, she

electronically filed the foregoing with the Clerk of the United States District Court for the

Northern District of Illinois using the ECF system, which will send notification of such

filing to the following counsel of record:


                              Fitzgerald T. Bramwell
                              Law Offices of Fitzgerald Bramwell
                              225 West Washington Street, Ste. 2200
                              Chicago, IL 60606
                              bramwell@fitzgeraldbramwell.com



                                              s/ Anneliese Wermuth
                                              Anneliese Wermuth




LEGAL\55212113\1
